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 UNITED STATES OF AMERICA,


      Plaintiff,

      V.                                              No. 2:18-cv-95


 $59,260.00 U.S. CURRENCY,

       Defendant.


                                       ORDER


      Before the Court is Plaintiff the United States of America's


Motion to Strike Third-Party Claim.            Dkt. No. 10.      For the reasons

set forth below, the United States' Motion is GRANTED.

                                     BACKGROUND


      This case involves a forfeiture action filed by the United

States and a third-party claim on the $59,260.00 in United States

Currency    at    issue   in   the   forfeiture     action    {hereinafter,         the

^'Defendant      Currency")    filed    by   Claimant   Richie     Favor.           The

Defendant     Currency     was   seized      from   Anthony    Frances       Gambino

following a traffic stop along the southbound side of Interstate

95 in Weaver, Georgia on the morning of January 22, 2018.                       Dkt.

No. 1 at 2; Dkt. No. 10 at 1-2.^               Gambino was pulled over for


^ The Court recites the facts of Gambino's traffic stop and arrest as stated in
the United States' Verified Complaint for Forfeiture In Rem, dkt. no. 1, and
the United States' Motion to Strike Third Party Claim, dkt. no. 10, because
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speeding, and after stopping Gambino, the officer conducting the

stop discovered Gambino's driver's license was suspended.                            Dkt.

No. 10 at 2.       Upon being detained, Gambino acknowledged that he

was concerned about leaving his duffle bag in the car because it

contained a large amount of cash—$59,260.GO to be exact.                       Id.

       During the traffic stop, the officers on the scene deployed

a Narcotics Detection K-9 to inspect Gambino's vehicle.                       Id.    The

K-9 positively indicated the presence of contraband in the driver's

side   door,    and     a   search      of   the   vehicle    revealed   a   marijuana

grinder.    Id.    After searching the vehicle, officers took Gambino

and his duffle bag to the Sheriff Office Patrol building in Camden

County.     Id.       At     the   Sheriff's       Office,    officers   placed     five

identical      duffle       bags   on    the   floor   with    one   containing      the

Defendant Currency.           Id. at 3.        After inspecting all five bags,

the K-9 positively indicated the presence of contraband within the

bag containing the Defendant Currency.                 Id. at 3.     Based on these

facts, the United States filed a Verified Complaint for Forfeiture

In Rem against the Defendant Property on August 2, 2018.                      Dkt. No.

1.




those facts are not contested by Claimant, see dkt. no. 9, and they are only
relevant to explaining the background of this forfeiture action, not Claimant's
specific arguments as to his claim to the Defendant Property.      Furthermore,
Claimant did not respond to the United States' Motion. See L.R. 7.5 ("Failure
to respond within the applicable time period shall indicate that there is no
opposition to a motion.").
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       On September 11, 2018, Claimant Richie Favor filed a claim on

the Defendant Currency.        Dkt. Nos. 5-6.       In addition, on September

27, 2018, Claimant filed an answer and cross claim to the United

States' Verified Complaint for Forfeiture In Rem.                    Dkt. No. 9.

However, Claimant's documents were filed by attorney Mario F.

Gallucci who is not admitted to practice in the Southern District

of Georgia and who has not been admitted pro hac vice.                    Despite

being notified of these facts through a deficiency notice sent on

September 17, 2018, Gallucci has not associated local counsel, has

still not filed a motion to be admitted pro hac vice, and did not

appear at the hearing on this matter on December 10, 2018.^

       Claimant demands a judgment in the amount of $40,000 from the

Defendant Property, arguing that he gave that money to Gambino to

use as a down payment on a property for Claimant.               Dkt. No. 9 SI 8.

Specifically,       Claimant   alleges       that   he   delivered   $40,000   to

Gambino to use as a down          payment on real property located in

Pompano Beach, Florida.        Id.   Claimant alleges that the money was

never used or intended to be used for illegal activity and that he

is the rightful owner of $40,000 of the Defendant Property.                    Id.

SIS   10-11.   To    support   his   claim.     Claimant    attached    documents

showing that he won a substantial settlement in a personal injury

lawsuit from which his net recovery was $655,998.33.                   Dkt. No. 6




2 However, Claimant Richie Favor appeared on his own behalf for the hearing.

                                         3
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at 2; Dkt. Nos. 6-1; 6-2; 6-3.                  Additionally, Claimant attached

bank records demonstrating that on January 23, 2018, he wired

$48,500 to a person named Lorenzo Jones whose address was listed

as 791 Birdie Ln, Pompano, Florida 33069.                        Dkt. No. 6-4 at 1-4.

Claimant also attached documents showing that he deposited $5,000

into a Chase Bank account on January 16, 2018.                      Dkt. No. 6-4 at 5-

6.


                                   LEGAL STANDARD


          claimant in a civil forfeiture action must establish both


the requirements of Article III standing and statutory standing."

United States v. $11,320.00 in U.S. Currency, 880 F. Supp. 2d 1310,

1322 (N.D. Ga. 2012) (citing United States v. $688,670.42 Seized

from Regions Bank Account No. XXXXXX5028, 449 Fed. App'x 871, 873

(11th Cir. 2011) (per curiam); United States v. $114.031.00 in

U.S.    Currency,    284    Fed.    App'x   754,      755    (11th      Cir.   2008)   (per

curiam)).      As for Article III standing, ^Mi]t is well established

that in    order    to     contest   a   forfeiture,         a    claimant     first   must

demonstrate a       sufficient interest in the property to give him

Article III standing; otherwise, there is no ^case or controversy,'

in the constitutional sense, capable of adjudication in the federal

courts."       United States v. $38,000.00 Dollars in U.S. Currency,

816 F.2d 1538, 1543 (11th Cir. 1987).                  While a claimant need not

prove    the   merits    of   his    claim,      he   must       show   some   ^'colorable

interest in the proceedings sufficient to satisfy the case-or-

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controversy requirement."         Kadonsky v. United States, 216 F.3d

499, 508 (5th Cir. 2000) (quoting United States v. $9,041,598.68,

163 F.3d 238, 245 (5th         Cir.1998); see also $11,320.00 in             U.S.

Currency, 880 F. Supp. 2d at 1323 ("[A] claimant must show that he

has a colorable ownership or possessory interest in the funds.").

A claimant can meet this threshold requirement by showing some

ownership or possessory interest in the property, see $11,320.00

in U.S. Currency, 880 F. Supp. 2d at 1323; $38,000.00 Dollars in

U.S. Currency, 816 F.2d at 1544, ^'but a bare assertion of ownership

in the property, without more, is not enough to prove an ownership

interest sufficient to establish           standing, $11,320.00 in           U.S.

Currency, 880 F. Supp. 2d at 1323 (citations omitted).

     As   for    statutory     standing,   ^'The   Supplemental    Rules     for

Admiralty or Maritime Claims and Asset Forfeiture (^'Supplemental

Rules") and 18 U.S.C. § 983(a)(4) govern civil forfeiture actions

and set forth statutory standing requirements for contesting a

forfeiture."     Id.     Rule G(5)(b) of the Supplemental Rules states

that: "A claimant must serve and file an answer to the complaint

or a motion under Rule 12 within 20 days after filing the claim."

Supp. R. G(5)(b).        Rule G(8)(c) of the Supplemental Rules states:

     (i) At any time before trial, the government may move to
     strike a claim or answer:
           (A) for failing to comply with Rule G(5) or (6), or
           (B) because the claimant lacks standing.
     (ii) The motion:
           (A)    must    be   decided   before    any   motion   by   the
           claimant to dismiss the action; and
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             (B) may be presented as a motion for judgment on
             the pleadings or as a motion to determine after a
             hearing or by summary judgment whether the claimant
             can carry the burden of establishing standing by a
             preponderance of the evidence.

Supp. R. G(8)(c).         The Eleventh Circuit has ''emphasized that

claimants must strictly adhere to the procedural requirements of

the Supplemental Rules to achieve statutory standing to contest a

forfeiture action."       United States v. $12,126.00 in U.S. Currency/

337 F. App'x 818, 820 (11th Cir. 2009) (citing $38,000.00 Dollars

in U.S. Currency, 816 F.2d at 1545).

                                      DISCUSSION


  I.      Ar-ticle III Standing

       The   United   States   asserts    that     Claimant   lacks   Article   III


standing to bring his claim against the Defendant Property in this

case.     Specifically, the United States argues that Claimant has

failed to demonstrate that he is an owner of the money; rather, it

maintains that even under the facts alleged by Claimant—that he

gave money to Gambino to use as a down payment on a house for

Claimant—he is at most an unsecured creditor who has no interest


in the Defendant Property.            The United States is correct.

        First,    Claimant     must     demonstrate    some    evidence    of    an

ownership or possessory interest in the property to have standing;

a bare assertion of ownership is insufficient.                 Claimant was not

in possession of the money that was seized, so he has no possessory

interest.        Furthermore, the evidence that Claimant has presented
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merely shows that he has access to large amounts of money and that

he sent a     wire transfer, not to Gambino, but to someone named

Lorenzo Jones—who may or may not live in Pompano Beach, Florida—

in the same month that money was seized from Gambino's vehicle.

However, Claimant has provided no evidence connecting him to the

money seized from Gambino's duffle bag.                 At the hearing on the

United States' Motion, Claimant, for the first time in an unsworn

statement     to   the   Court,    maintained    that    he   and    Gambino   were

business partners.        Dkt. No. 12.        However, no documents or sworn

statements in the record show any evidence of such an alleged

partnership.

     Second, even if Claimant did give money to Gambino to use for

a down payment for property in Florida as described in his claim

and Answer, at best, those facts, without more, would make Claimant

an unsecured creditor.            See United States v. Watkins, 320 F.3d

1279, 1281 {11th Cir. 2003) (finding that claimant who gave money

to a criminal defendant to buy an automobile for claimant was

merely   an    unsecured    creditor     as    the   claimant       ''possessed   no

'attached' security interest in the funds" that he gave to the

criminal      defendant    (citations     omitted)).          "Unlike      secured

creditors, general creditors cannot point to any one specific asset

and claim that they are entitled to payment out of the value of

that specific asset.         General creditors instead enjoy a legal

interest in the entire estate of the debtor."                 Id. at 1283.        For
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this    reason,       ^'the   federal    courts       have   consistently         held   that

unsecured creditors do not have standing to challenge the civil

forfeiture       of     their    debtors'       property."           United    States       v.

$20,193.39      U.S.      Currency,      16    F.3d     344,   346    (9th     Cir.      1994)

(collecting cases from various circuits including United States v.

Four Million, Two Hundred Fifty-Five Thousand, 762 F.2d 895, 907

(11th    Cir.    1985));        see    also    United     States     v.    BCCI    Holdings

(Luxembourg), S.A., 46 F.3d 1185, 1191-92 (D.C. Cir. 1995) (^'[A]

general creditor can never have an interest in specific forfeited

property, no matter what the relative size of his claim vis-a-vis

the    value    of the defendant's             post-forfeiture estate.              Were it

otherwise, the          court litigating the            forfeiture        issue    would    be

converted into a bankruptcy court and would not be able to grant

forfeiture to the government until it determined that no general

creditor       would     be   unable      to    satisfy      its   claim      against      the

defendant.").

        Here, Claimant allegedly gave money to Gambino to use as a

down payment on a property in Florida, and that alleged money was

confiscated in a duffle bag full of cash as part of the Defendant

Property.       As such. Claimant has presented no evidence that he

possessed any attached security interest in the funds, making him

an unsecured creditor.                Thus, as an unsecured creditor, he lacks

a colorable interest in the property subject to forfeiture and

therefore lacks Article III standing in this case.

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     II.    Sta-tutory Standing

       Moreover,     Claimant       also   lacks    statutory        standing   in   this

case.       Rule G(5)(b) of the Supplemental Rules requires a claimant

to file an answer to the United States' complaint for forfeiture.

In this case, while Claimant did file such an answer within the

appropriate       time      limit    proscribed         by    Rule   G(5)(b)    of     the

Supplemental Rules, he filed it through his attorney Mario Gallucci

who is not admitted to practice in this district and who has,

despite being notified of the deficiency, still not filed a motion

to appear pro hac vice or associated counsel who can appear in

this Court.        As such. Claimant and his attorney have failed to

adhere to L.R. 83.4 for being properly admitted to practice before

this Court.       Because of this failure, the Court will not consider

Claimant's Answer as it was not properly filed.                            See Myhre v.

Seventh-Day       Adventist       Church   Reform       Movement     Am.    Union    Int'l

Missionary Soc'y, No. 1:14-CV-03899-SCJ, 2015 WL 13687122, at *3

(N.D. Ga. June 17, 2015) (holding that the court would not consider

the party's filings because of the party's failures to comply with

local rules regarding admittance to practice before the court).

Therefore, because Claimant did not file an answer to the United

States'      complaint for        forfeiture,      he    lacks   statutory      standing

under      Rule   G(5)(b)    of   the   Supplemental         Rules    to   contest   this

forfeiture action.          See $12,126.00 in U.S. Currency, 337 F. App'x

at    820    (describing      the    requirement        for    strict      adherence   to
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              procedural rules in the Supplemental Rules to have standing to

              contest a forfeiture action)

                                                  CONCLUSION


                    For   these      reasons.    Plaintiff        United    States   of   America's

              Motion to Strike Third-Party Claim, dkt. no. 10, is GRANTED.

                    SO ORDERED, this 19th day of December, 2018.




                                                        HONT LISA GODBBY WOOD, JUDGE
                                                        UNITED STATES DISTRICT COURT
                                                        SOUTHERN DISTRICT OF GEORGIA




              3 The United States also preemptively raises an argument on the innocent owner
              defense under 18 U.S.C. § 983(d), asserting that Claimant as an unsecured
              creditor laclcs the necessary ownership interest necessary to assert the defense
              under the   statute.    However,   this   defense   and the   statute's   definition   of
              "ownership" related to that defense are issues to be resolved on the merits,
              and because the Court finds that Claimant lacks standing to bring this claim in
              this case, it need not reach this issue. United States v. One 1990 Beechcraft,
              1900 C Twin Engine Turbo-Prop Aircraft, Venezuelan Registration No. YV219T,
              Serial UC118, 619 F.3d 1275, 1277 n.3 (11th Cir. 2010).

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(Rev. 8/82)
